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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

HOBBICO, INC., et al.,1                                      Case No. 18-10055 (KG)

                                      Debtors.               (Jointly Administered)




                NOTICE OF FILING FINAL REPORT AND ACCOUNT
                PURSUANT TO BANKRUPTCY RULE 1019(5)(A)(ii)

         PLEASE TAKE NOTICE that on July 11, 2018 the Court entered in the chapter 11 cases of

the above captioned debtors (the “Debtors”) the Order Converting the Debtors’ Chapter 11 Cases

to Cases Under Chapter 7 of the Bankruptcy Code (the “Conversion Order”) [Docket No. 531].


         PLEASE TAKE FURTHER NOTICE that pursuant to the Conversion Order, and in

accordance with Rule 1019(5)(A)(ii) of the Federal Rules of Bankruptcy Procedure, the Debtors

hereby submit their final report and account to the United States Trustee for the District of Delaware,

which is attached hereto as Exhibit 1.


Dated: August 8, 2018                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, DE                                    /s/ Curtis S. Miller
                                                  Robert J. Dehney (No. 3578)
                                                  Curtis S. Miller (No. 4583)
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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are as follows: Hobbico, Inc. (9545); Arrma Durango Ltd.; Tower Hobbies, Inc.
         (5185); Great Planes Model Manufacturing, Inc. (5259); United Model, Inc. (5302); Revell Inc. (8545);
         Estes-Cox Corp. (2196); and Axial R/C Inc. (0233). The Debtors’ headquarters are located at 2904
         Research Road, Champaign, Illinois 61822.
